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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION

IN RE: ROUNDUP PRODUCTS LIABILITY                                         MDL No. 2741
LITIGATION


                           NOTICE OF OPPOSITION (CTO-202)

       In accordance with Rule 7.1(c) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, Plaintiff Phillip Mowry submits this opposition to Conditional

Transfer Order (CTO –202) as it relates to the following case:

       Phillip Mowry v. Monsanto Company, et al., Alabama Middle, Case No. 2:20-cv-00215


Dated: April 14, 2020                               Respectfully submitted,

                                                    /s/ John E. Tomlinson
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